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 This Form of Order Prepared and Submitted by Counsel for Plaintiff

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 Counsel for Plaintiff and the Putative Class

                                UNITED STATES DISTRICT COURT
                                      DISTRICT OF UTAH



  KRISTIN PILKINGTON, individually and on
  behalf of all others similarly situated, ORDER GRANTING STIPULATED
                                           MOTION FOR EXTENSION OF TIME
                          Plaintiffs,
           v.
                                                                Case No. 2:24-cv-00434-RJS-DBP
  GORSUCH, LTD.
                                                                Chief Judge Robert J. Shelby
                            Defendant.                          Magistrate Judge Dustin B. Pead



         The Court, having reviewed the Stipulated Motion to Extend Briefing Schedule on

 Amended Motion to Dismiss (ECFR No. 18), being now fully apprised in the premises, and good

 cause appearing,

         IT IS HEREBY ORDERED that:

         1. The Motion be, and the same hereby is, GRANTED; and

         2. The deadline for filing a response to the Motion be, and the same hereby is,

 EXTENDED to November 12, 2024; and

         3. The deadline for filing a reply in further support of the Motion be, and the same hereby




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 is, EXTENDED to December 3, 2024.

       DONE this ____ day of October 2024.

                                             BY THE COURT:



                                             Dustin B. Pead
                                             United States Magistrate Judge




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